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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION


       SECURITIES AND EXCHANGE
       COMMISSION,

                      Plaintiff,

       v.                                                       Case No. 8:20-cv-325-MSS-AEP

       BRIAN DAVISON, et al.,

                      Defendants.
                                                     /

                                   REPORT AND RECOMMENDATION

              This cause comes before the Court upon the Receiver’s Unopposed Ninth Quarterly Fee

       Application for Order Awarding Fees, Costs, and Reimbursement of Costs to Receiver and His

       Professionals (Doc. 572). By the motion, the Receiver seeks reimbursement of fees and costs

       to the Receiver and the professionals he retained for use in this matter for the period from

       January 1, 2022 through March 31, 2022. The Securities and Exchange Commission (“SEC”)

       does not oppose the request. For the following reasons, it is recommended that the Receiver’s

       motion (Doc. 572) be granted.

              I.      Background

              The SEC brought this action against Individual Defendants Brian Davison (“Davison”)

       and Barry Rybicki (“Rybicki”) and Corporate Defendants EquiAlt LLC; EquiAlt Fund, LLC;

       EquiAlt Fund II, LLC; EquiAlt Fund III, LLC; and EA SIP LLC (collectively, “Corporate

       Defendants”) for violations of Sections 5(a) and 5(c) of the Securities Act of 1933 (“Securities

       Act”), 15 U.S.C. §§ 77e(a) and 77e(c); Section 17(a)(2) of the Securities Act, 15 U.S.C. §

       77q(a); Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §

       78j(b); and Exchange Act Rule 10b-5, 17 C.F.R. § 240.10b-5 regarding the alleged operation
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       of a nationwide Ponzi scheme raising more than $170 million from 1,100 investors through

       fraudulent unregistered securities offerings (Doc. 1). The SEC further alleged that Relief

       Defendants 128 E. Davis Blvd, LLC; 310 78th Ave, LLC; 551 3d Ave S, LLC; 604 West

       Azeele, LLC; 2101 W. Cypress, LLC; 2112 W. Kennedy Blvd, LLC; 5123 E. Broadway Ave,

       LLC, Blue Waters TI, LLC; BNAZ, LLC; BR Support Services, LLC; Bungalows TI, LLC;

       Capri Haven, LLC; EA NY, LLC; EquiAlt 519 3rd Ave S., LLC; McDonald Revocable Living

       Trust; Silver Sands TI, LLC; and TB Oldest House Est. 1842, LLC (collectively, “Relief

       Defendants”) all received proceeds of the fraud without any legitimate entitlement to the

       money. Upon consideration of the Complaint (Doc. 1); the SEC’s ex parte motion for

       temporary restraining order, asset freeze, and other injunctive relief (Doc. 4); and the SEC’s ex

       parte motion to appoint a receiver (Doc. 6), the District Judge granted the request for a

       temporary restraining order, asset freeze, and other injunctive relief and appointed Burton W.

       Wiand (“Wiand” or the “Receiver”) as the Receiver in this action over the Corporate

       Defendants and the Relief Defendants and each of their subsidiaries, successors, and assigns

       (Docs. 10 & 11). 1  0F




              In doing so, the District Judge outlined the Receiver’s duties and the basis for

       compensation for the performance of such duties, as follows:

                     NOW, THEREFORE, IT IS ORDERED AND ADJUDGED that
              Burton Wiand, Esq. is hereby appointed the Receiver over the Corporate
              Defendants and Relief Defendants, each of their subsidiaries, successors and
              assigns, and is hereby authorized, empowered, and directed to:

                      1.        Take immediate possession of all property, assets and estates of
                                every kind of the Corporate Defendants and Relief Defendants
       1
          Subsequently, the District Judge granted the Receiver’s motion seeking to expand the
       Receivership to include EquiAlt Qualified Opportunity Zone Fund, LP (“QOZ”); EquiAlt QOZ
       Fund GP, LLC; EquiAlt Secured Income Portfolio REIT, Inc. (“REIT”); EquiAlt Holdings LLC
       (sponsor of the QOZ and REIT); EquiAlt Property Management LLC (property manager of the
       QOZ and REIT); and EquiAlt Capital Advisors, LLC (manager of day-to-day operations for
       the QOZ and REIT) (Doc. 184). EquiAlt Fund I, LLC was also later added (Doc. 284).


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                        whatsoever and wheresoever located, including but not limited to
                        all offices maintained by the Corporate Defendants and Relief
                        Defendants, rights of action, books, papers, data processing
                        records, evidences of debt, bank accounts, savings accounts,
                        certificates of deposit, stocks, bonds, debentures and other
                        securities, mortgages, furniture, fixtures, office supplies and
                        equipment, and all real property of the Corporate Defendants and
                        Relief Defendants, wherever situated, and to administer such
                        assets as is required in order to comply with the directions
                        contained in this Order, and to hold all other assets pending
                        further order of this Court;

                  2.    Investigate the manner in which the affairs of the Corporate
                        Defendants and Relief Defendants were conducted and institute
                        such actions and legal proceedings, for the benefit and on behalf
                        of the Corporate Defendants and Relief Defendants and their
                        investors and other creditors as the Receiver deems necessary
                        against those individuals, corporations, partnerships, associations
                        and/or unincorporated organizations which the Receiver may
                        claim have wrongfully, illegally or otherwise improperly
                        misappropriated or transferred money or other proceeds directly
                        or indirectly traceable from investors in EquiAlt Fund, LLC,
                        EquiAlt Fund II, LLC, EquiAlt Fund III, LLC, and EA SIP, LLC,
                        their officers, directors, employees, affiliates, subsidiaries, or any
                        persons acting in concert or participation with them, or against
                        any transfers of money or other proceeds directly or indirectly
                        traceable from investors in EquiAlt Fund, LLC, EquiAlt Fund II,
                        LLC, EquiAlt Fund III, LLC, and EA SIP, LLC; provided such
                        actions may include, but not be limited to, seeking imposition of
                        constructive trusts, disgorgement of profits, recovery and/or
                        avoidance of fraudulent transfers, rescission and restitution, the
                        collection of debts, and such orders from this Court as may be
                        necessary to enforce this Order;

                  3.    Initially recover, control and possess liquid assets, known real
                        estate, LLC assets and high-end personal assets purchased with
                        funds traceable from investor proceeds, and trusts if the Receiver
                        deems appropriate. The Receiver is specifically authorized to
                        retain for the purposes of the receivership, forensic accountants
                        (Yip and Associates), information technology consultants and
                        counsel specializing in information technology research (Adam
                        Sharp, E-Hounds, Inc. and Robert Stines of Freeborn & Peters
                        LLP), RWJ Group, LLC, and investigators, and counsel in
                        Phoenix, Arizona to assist in the service of the Order and
                        securing of records and assets. The Receiver shall advise and
                        seek the consent of the Court with respect to the institution of
                        claims relating to vendors, professionals, investors, or financial
                        institutions, or other litigation of a complex and significant nature


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                        that may involve commitment of significant assets or the
                        incurrence of significant costs or expenses to the receivership;

                  4.    Present to this Court a report reflecting the existence and value
                        of the assets of the Corporate Defendants and Relief Defendants
                        and of the extent of liabilities, both those claimed to exist by
                        others and those the Receiver believes to be legal obligations of
                        the Corporate Defendants and Relief Defendants;

                  5.    Appoint one or more special agents, employ legal counsel,
                        actuaries, accountants, clerks, consultants and assistants as the
                        Receiver deems necessary and to fix and pay their reasonable
                        compensation and reasonable expenses, as well as all reasonable
                        expenses of taking possession of the assets and business of the
                        Corporate Defendants and Relief Defendants and exercising the
                        power granted by this Order, subject to prior approval by this
                        Court;

                  6.    Engage persons in the Receiver’s discretion to assist the Receiver
                        in carrying out the Receiver’s duties and responsibilities,
                        including, but not limited to, the United States Marshal’s Service,
                        accountants, or a private security firm;

                  7.    Defend, compromise or settle legal actions, including the instant
                        proceeding, in which the Corporate Defendants, the Relief
                        Defendants, or the Receiver are a party, commenced either prior
                        to or subsequent to this Order, without authorization of this Court
                        up to a total amount of $50,000 for each claim; except, however,
                        in actions where the Corporate Defendants or Relief Defendants
                        are nominal parties, where the action does not effect a claim
                        against or adversely affect the assets of Corporate Defendants or
                        Relief Defendants, the Receiver may file appropriate pleadings
                        at the Receiver’s discretion. The Receiver may waive any
                        attorney-client or other privilege held by the Corporate
                        Defendants or Relief Defendants;

                  8.    Assume control of, and be named as authorized signatory for, all
                        accounts at any bank, brokerage firm or financial institution
                        which has possession, custody or control of any assets or funds,
                        wherever situated, of the Corporate Defendants or Relief
                        Defendants and, upon[] order of this Court, of any of their
                        subsidiaries or affiliates, provided that the Receiver deems it
                        necessary;

                  9.    Make or authorize such payments and disbursements from the
                        funds and assets taken into control, or thereafter received by the
                        Receiver, and incur, or authorize incurrence of, such expenses
                        and make, or authorize the making of, such agreements as may


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                            be reasonable, necessary, and advisable in discharging the
                            Receiver’s duties;

                     10.    Have access to and review all mail of Corporate Defendants or
                            Relief Defendants (except for mail that appears to be purely
                            personal or in any respect attorney-client privileged
                            communication to or from the individual Defendants) received at
                            any office or address of Corporate Defendants or Relief
                            Defendants.

                     IT IS FURTHER ORDERED AND ADJUDGED that, in connection
              with the appointment of the Receiver provided for above:

                     11.    The Corporate Defendants or Relief Defendants and all of their
                            directors, officers, agents, employees, attorneys, attorneys-in-
                            fact, shareholders, and other persons who are in custody,
                            possession, or control of any assets, books, records or other
                            property of the Defendants and Relief Defendants shall deliver
                            forthwith upon demand such property, money, books and records
                            to the Receiver, and shall forthwith grant to the Receiver
                            authorization to be a signatory as to all accounts at banks,
                            brokerage firms or financial institutions which have possession,
                            custody or control of any assets or funds in the name of or for the
                            benefit of the Corporate Defendants and Relief Defendants;

                     12.    The Receiver is authorized to open a bank account or accounts in
                            the name of the Receivership to carry out the business of the
                            Receivership and the Receivership Estate;

                                                   ***

                     16.    The Receiver, and any counsel whom the Receiver may select,
                            are entitled to compensation from the assets now held by or in
                            the possession or control of or which may be received by the
                            Corporate Defendants and Relief Defendants; said amounts or
                            amounts of compensation shall be commensurate with their
                            duties and obligations under the circumstances, subject to
                            approval of the Court. The Receiver is specifically authorized to
                            retain Wiand Guerra King P.A. as attorneys for the Receiver; 2 1F




                                                   ***

                     28.    Within thirty (30) days after the end of each calendar quarter, the
                            Receiver shall file and serve a full report and accounting of each
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         The firm name changed from Wiand Guerra King P.A. to Guerra King P.A. (“GK”) since
       entry of the Order Appointing the Receiver. Any reference herein to Wiand Guerra King P.A.
       therefore applies to GK.


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                        Receivership Estate (the “Quarterly Status Report”), reflecting
                        (to the best of the Receiver’s knowledge as of the period covered
                        by the report) the existence, value, and location of all
                        Receivership Property, and of the extent of liabilities, both those
                        claimed to exist by others and those the Receiver believes to be
                        legal obligations of the Receivership Estates;

                  29.   The Quarterly Status Report shall contain the following:

                        A.     A summary of the operations of the Receiver;

                        B.     The amount of cash on hand, the amount and nature of
                               accrued administrative expenses, and the amount of
                               unencumbered funds in the estate;

                        C.     A schedule of all the Receiver’s receipts and
                               disbursements (attached as Exhibit A to the Quarterly
                               Status Report), with one column for the quarterly period
                               covered and a second column for the entire duration of
                               the receivership;

                        D.     A description of all known Receivership Property,
                               including approximate or actual valuations, anticipated or
                               proposed dispositions, and reasons for retaining assets
                               where no disposition is intended;

                        E.     A description of liquidated and unliquidated claims held
                               by the Receivership Estate, including the need for
                               forensic and/or investigatory resources; approximate
                               valuations of claims; and anticipated or proposed
                               methods of enforcing such claims (including likelihood
                               of success in: (i) reducing the claims to judgment; and (ii)
                               collecting such judgments);

                        F.     The status of Creditor Claims Proceedings, after such
                               proceedings have been commenced; and,

                        G.     The Receiver’s recommendations for a continuation or
                               discontinuation of the receivership and the reasons for the
                               recommendations.

                  30.   Subject to Paragraphs 31 – 37 immediately below, the Receiver
                        need not obtain Court approval prior to the disbursement of
                        Receivership Funds for expenses in the ordinary course of the
                        administration and operation of the receivership. Further, prior
                        Court approval is not required for payments of applicable federal,
                        state or local taxes;



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                  31.   Subject to Paragraph 32 immediately below, the Receiver is
                        authorized to solicit persons and entities (“Retained Personnel”)
                        to assist him in carrying out the duties and responsibilities
                        described in this Order. Except as otherwise provided herein, the
                        Receiver shall not engage any Retained Personnel without first
                        obtaining an Order of the Court authorizing such engagement;

                  32.   The Receiver and Retained Personnel are entitled to reasonable
                        compensation and expense reimbursement from the Receivership
                        Estates as described in the “Billing Instructions for Receivers in
                        Civil Actions Commenced by the U.S. Securities and Exchange
                        Commission” (the “Billing Instructions”) agreed to by the
                        Receiver. Such compensation shall require the prior approval of
                        the Court;

                  33.   Within forty-five (45) days after the end of each calendar quarter,
                        the Receiver and Retained Personnel shall apply to the Court for
                        compensation and expense reimbursement from the Receivership
                        Estates (the “Quarterly Fee Applications”). At least thirty (30)
                        days prior to filing each Quarterly Fee Application with the
                        Court, the Receiver will serve upon counsel for the SEC a
                        complete copy of the proposed Application, together with all
                        exhibits and relevant billing information in a format to be
                        provided by SEC staff;

                  34.   All Quarterly Fee Applications will be interim and will be subject
                        to cost benefit and final reviews at the close of the receivership.
                        At the close of the receivership, the Receiver will file a final fee
                        application, describing in detail the costs and benefits associated
                        with all litigation and other actions pursued by the Receiver
                        during the course of the receivership;

                  35.   Quarterly Fee Applications may be subject to a holdback in the
                        amount of 20% of the amount of fees and expenses for each
                        application filed with the Court. The total amounts held back
                        during the course of the receivership will be paid out at the
                        discretion of the Court as part of the final fee application
                        submitted at the close of the receivership;

                  36.   Each Quarterly Fee Application shall:

                        A.     Comply with the terms of the Billing Instructions agreed
                               to by the Receiver; and,

                        B.     Contain representations (in addition to the Certification
                               required by the Billing Instructions) that: (i) the fees and
                               expenses included therein were incurred in the best
                               interests of the Receivership Estate; and, (ii) with the


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                                      exception of the Billing Instructions, the Receiver has not
                                      entered into any agreement, written or oral, express or
                                      implied, with any person or entity concerning the amount
                                      of compensation paid or to be paid from the Receivership
                                      Estate, or any sharing thereof.

       (Doc. 11, ¶¶1-12, 16, 28-36). In accordance with directive in the Order Appointing the

       Receiver, the Receiver now submits his Ninth Quarterly Fee Application, seeking compensation

       for the fees and costs incurred for the performance of his duties in this action as well as the fees

       and costs incurred by the Retained Personnel he hired to assist in the performance of such duties

       (Doc. 572). Specifically, the Receiver seeks an award of all fees and costs incurred from

       January 1, 2022 through March 31, 2022 in the following amounts: (1) Receiver, in the amount

       of $79,041.01; (2) GK, in the amount of $124,665.42; (3) Johnson, Cassidy, Newlon & DeCort

       (“JCND”), in the amount of $69,949.22; (4) Weiss Brown, in the amount of $775; (5) Yip

       Associates (“Yip”), in the amount of $25,248.50; (6) PDR CPAs (“PDR”), in the amount of

       $32,655.18; (7) E-Hounds, Inc. (“E-Hounds”), in the amount of $8,193; (8) Omni Agent

       Solutions (“Omni”) in the amount of $14,095.37; and (9) The RWJ Group, LLC (“RWJ”), in

       the amount of $724.50 (Doc. 572). As noted, the SEC does not oppose the requested relief

       (Doc. 572, at 36).

              II.     Discussion

              When determining relief in an equity receivership, district courts maintain broad powers

       and wide discretion. S.E.C. v. Elliott, 953 F.2d 1560, 1566 (11th Cir. 1992) (citations omitted).

       Where a receiver reasonably and diligently discharges his or her duties, the receiver is entitled

       to compensation. Id. at 1577 (citation omitted); see Stuart v. Boulware, 133 U.S. 78, 82 (1890)

       (“Nor is there any doubt of the power of courts of equity to fix the compensation of their own

       receivers. That power results necessarily from the relation which the receiver sustains to the

       court; and, in the absence of any legislation regulating the receiver’s salary or compensation,



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       the matter is left entirely to the determination of the court from which he derives his

       appointment.”). In determining whether a receiver merits a fee, the court must consider the

       circumstances surrounding the receivership, with the results obtained always relevant to the

       analysis. Elliot, 953 F.2d at 1577 (citation omitted); see F.T.C. v. Worldwide Info Servs., Inc.,

       No. 6:14-cv-8-Orl-41DAB, 2015 WL 144389, at *4 (M.D. Fla. Jan. 12, 2015) (citation omitted)

       (noting that courts may consider several factors in determining the reasonableness of a fee

       award to a receiver, including “(1) the results achieved by the receiver; (2) the ability, reputation

       and other professional qualities of the receiver; (3) the size of the estate and its ability to afford

       the expenses and fees; and (4) the time required to conclude the receivership.”). In considering

       a fee award to a receiver, “the prosecuting agency’s acquiescence to the requested fees militates

       strongly in favor of approving them.” F.T.C. v. Direct Benefits Grp., LLC, No. 6:11-cv-1186-

       Orl-28TBS, 2013 WL 6408379, at *4 (M.D. Fla. Dec. 6, 2013) (citations omitted).

               Furthermore, once appointed, the receiver operates as an officer of the court and remains

       subject to the court’s directions and orders, and, while in the discharge of his or her official

       duties, the receiver may obtain counsel for himself or herself, and counsel fees fall within the

       just allowances that may be made by the court. Stuart, 133 U.S. at 81. A receiver also is entitled

       to reimbursement for the actual and necessary expenses the receiver incurred in the performance

       of his or her duties, although the receiver must support a claim for such expenses with sufficient

       information to allow a court to determine whether the expenses constituted actual and necessary

       costs of preserving the receivership estate. Worldwide Info Servs., Inc., 2015 WL 144389, at

       *4 (citations omitted). Receiverships are not intended to generously reward court-appointed

       officers, however, especially when the receivership estate fails to recover sufficient assets to

       pay full restitution to the victims of the alleged fraud or misconduct. F.T.C. v. Vacation




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       Commc’n Grp., LLC, No. 6:13-cv-789-Orl-37DAB, 2015 WL 2127724, at *4 (M.D. Fla. May

       6, 2015) (citations omitted).

              When determining the reasonableness of an award of fees to a receiver and any retained

       professionals, courts typically begin the analysis with the lodestar method, calculating the

       reasonable hourly rate in the relevant market and the reasonable number of hours expended. Id.

       at *3 (citations omitted); see Worldwide Info Servs., Inc., 2015 WL 144389, at *4 n.3 (“In

       determining the reasonableness of professional fees, courts typically undertake a lodestar

       approach, which focuses on the reasonableness of the hourly rate and the reasonableness of the

       hours billed.”); see S.E.C. v. Kirkland, No. 6:06-cv-183-Orl-28KRS, 2008 WL 4144424, at *4

       (M.D. Fla. Sept. 5, 2008); cf. Hensley v. Eckerhart, 461 U.S. 424, 433-34 (1983) (discussing

       the lodestar method); cf. Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292, 1299-1302

       (11th Cir. 1988) (discussing the lodestar method). In determining the lodestar figure, a

       “reasonable hourly rate” consists of “the prevailing market rate in the relevant legal community

       for similar services by lawyers of reasonably comparable skills, experience, and reputation.”

       Norman, 836 F.2d at 1299 (citations omitted). In this context, “market rate” means the hourly

       rate charged in the local legal market by an attorney with expertise in the area of law who is

       willing and able to take the case, if indeed such an attorney exists. Am. Civil Liberties Union

       of Ga. v. Barnes, 168 F.3d 423, 437 (11th Cir. 1999).

              After determining the reasonable hourly rate, courts must then determine the number of

       hours reasonably expended on the litigation. In submitting a fee petition, counsel must exercise

       proper billing judgment and thus exclude any hours that are “excessive, redundant, or otherwise

       unnecessary.” Hensley, 461 U.S. at 434; Norman, 836 F.2d at 1301. “Both a receiver and his

       counsel must exercise proper billing judgment in seeking fees from the receivership estate, and

       should limit their work to that which is reasonable and necessary irrespective of the amount of



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       money in the receivership estate.” Kirkland, 2008 WL 4144424, at *5 (citation omitted). As

       to claims for professional services, the receiver must also provide evidence indicating the hourly

       rate is reasonable and commensurate with rates paid for similar services and that the time

       expended by such professionals was reasonable.          Id. at *4.    Furthermore, requests for

       reimbursement of expenses from the receiver also must be supported by sufficient information

       to permit the court to determine that the expenses are actual and necessarily incurred. Vacation

       Commc’n Grp., LLC, 2015 WL 2127724, at *3 (citation omitted). Regardless, the Court is an

       expert with respect to fee applications and therefore may consider a fee award based on its own

       experience and knowledge concerning reasonable and proper fees and therefore may form an

       independent judgment as to value. See Norman, 836 F.2d at 1303 (citations omitted).

              As with the prior requests, upon review of the Ninth Quarterly Fee Application,

       including the accompanying fee and costs records (Doc. 572), the undersigned concludes that

       the Receiver continued to properly perform his duties and employ professionals to assist in

       carrying out those duties. Further, the Receiver and the Retained Personnel discharged their

       duties in a diligent and reasonable manner and did not incur unnecessary fees or costs.

       Importantly, as noted above, the SEC does not oppose the Receiver’s request for fees and costs.

       The lack of any opposition by the SEC bears great weight in determining the reasonableness of

       the fees and costs to be awarded by the Court. See S.E.C. v. Byers, 590 F. Supp. 2d 637, 644

       (S.D.N.Y. 2008) (citation omitted) (stating that, in a securities receivership, the SEC’s

       opposition or acquiescence to the fee application will be afforded great weight); see Direct

       Benefits Grp., LLC, 2013 WL 6408379, at *4.

                      A.      Receiver

              With respect to the Receiver’s fees, the Receiver indicates that he reduced his standard

       hourly rate from $500 to $360 and seeks a total of $72,540 for work performed for 177.4 hours



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       expended on Receivership activities in this action, 2.2 hours expended on recovery of false

       profits from investors, and 21.9 hours expended on clawback litigation against non-investors

       from January 1, 2022 through March 31, 2022, as well as an award of $2,775 for 22.2 hours of

       paralegal work 3 at a rate of $125 per hour and costs in the amount of $3,726.01 (Doc. 572, at
                      2F




       9-14 & Ex. 2-6). Based on the undersigned’s own experience and the rates typically awarded

       to court-appointed receivers in the Middle District of Florida, the requested hourly rate of $360

       is reasonable. See, e.g., F.T.C. v. First Choice Horizon LLC, Case No. 6:19-cv-1028-Orl-

       40LRH, 2020 WL 1431526, at *2-3 (M.D. Fla. Jan. 15, 2020), report and recommendation

       adopted, 2020 WL 1431601 (M.D. Fla. Jan. 31, 2020) (considering several factors in

       concluding that an hourly rate of $350 was reasonable for a court-appointed receiver in the

       Middle District of Florida); F.T.C. v. MOBE Ltd., Case No. 6:18-cv-862-Orl-37DCI, 2018 WL

       4782327, at *3 (M.D. Fla. Sept. 17, 2018), report and recommendation adopted, 2018 WL

       4774960 (M.D. Fla. Oct. 3, 2018) (finding a rate of $330 per hour a reasonable rate for

       compensating a court-appointed receiver in the Middle District of Florida); F.T.C. v. Life Mgmt.

       Serv. of Orange Cnty., LLC, Case No. 6:16-cv-982-Orl-41TBS, 2017 WL 4861467, at *3 (M.D.

       Fla. Aug. 9, 2017), report and recommendation adopted, 2017 WL 4877460 (M.D. Fla. Oct.

       30, 2017) (finding a rate of $325 per hour a reasonable rate for compensating a court-appointed

       receiver in the Middle District of Florida and finding reasonable 129.2 hours expended by such

       receiver). Furthermore, the hours expended by the Receiver and his paralegal during the period



       3 Courts only reimburse work of paralegals and law clerks when such individuals perform work
       traditionally done by attorneys. Jean v. Nelson, 863 F.2d 759, 778 (11th Cir. 1988) (concluding
       that a district court properly reimbursed the time spent by paralegals and law clerks where the
       work was that normally done by an attorney). In this instance, review of the time records for
       the paralegal (Doc. 572, Ex. 3) indicates that the work performed by the paralegal in this matter
       constituted legal work normally performed by an attorney rather than clerical work.
       Accordingly, the undersigned recommends awarding the fees requested for work performed by
       the paralegal, as both the requested rate and the time expended on such work are reasonable.


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       from January 1, 2022 through March 31, 2022 are reasonable and do not appear excessive,

       redundant, or unnecessary at this juncture.

              As detailed more fully in the Receiver’s Ninth Quarterly Status Report, the Receivership

       involves more than 1,100 investors, $170 million in investments, and more than 200 properties

       (Doc. 563). During the relevant period, the Receiver and the Retained Personnel facilitated the

       turnover of assets that Rybick was required to turn over as part of his SEC settlement and

       consent judgment, including real property, automobiles, watches, jewelry, sports memorabilia,

       accounts, and furniture; sought Court approval for the settlement of claims against Rybicki

       related to a Scottsdale, Arizona property; sold Davison’s Defender for $205,000 (Doc. 491);

       sought and received Court approval for a second online auction for the sale of 20 real estate

       properties owned by the Receivership Estate (Doc. 457), resulting in the sale of 15 properties

       for $4,888,012 in gross proceeds; closed on the sale of the Bungalows in Treasure Island,

       Florida, for net proceeds of $2,636,610.62; received payments of approximately $13 million

       from the auction of 49 luxury watches through Sotheby’s; received Court approval for the

       private sale of five multiplex properties on Davis Islands totaling $7,300,000; received Court

       approval for the settlement of certain investor clawback claims, resulting in additional

       settlements in the amount of $89,534.70 (Docs. 464, 488, 535); continued to negotiate with the

       sales agent defendants in a related case and reached settlements with five sales agents and their

       related entities; continued the review of more than 1,900 Proof of Claim Forms submitted by

       investors and creditors; continued efforts in conjunction with class action counsel to reach a

       resolution of other related lawsuits; negotiated contracts for three properties, with closings

       forthcoming; continued working with two breweries; and continued efforts to streamline the

       Receivership administration and EquiAlt operations, including the maintenance and leasing of

       more than 200 real estate properties (Doc. 563, at 4-22; Doc. 572, at 2-4, 9-14 & Ex. 2-5). As



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       a result, the 201.5 hours expended by the Receiver, the 22.2 hours expended by the paralegal,

       and the costs incurred, including costs for delivery services, out-of-town travel, web-related

       services, and other costs, encompassing the notarization of documents related to the sale of

       assets, registration and insurance renewal for vehicles held by the Receivership, and the moving

       of Receivership assets (Doc. 572, Ex. 2-5), from January 1, 2022 through March 31, 2022, along

       with costs incurred previously but inadvertently omitted from the prior fee application, are fair

       and reasonable considering the activities performed and the results achieved (see Doc. 563, at

       4-22; Doc. 572, at 9-14 & Ex. 2-5). Accordingly, the Receiver should be awarded fees and

       costs in the amount of $79,041.01.

                       B.     GK

              With respect to legal services, the Receiver retained GK, which the District Judge

       specifically authorized in the Order Appointing the Receiver (Doc. 11, ¶16). The Receiver now

       seeks $122,208.50 in fees and $2,456.92 in costs for services provided by GK. The attorney

       fee schedule provided by GK includes the following proposed rates for the Receivership: $350

       for members/partners; $240 for associates; and $135 for paralegals (Doc. 572, Ex. 6). The fee

       records indicate that the hourly rates requested include the following:

       Professional           Position       Experience      Hours          Rate           Fees

       Maya Lockwood          Of Counsel     21 years        63.6           $240           $15,264

       Jared Perez            Partner        15 years        0.7            $350           $245

       Ailen Cruz             Associate      8 years         146.8          $240           $35,232

       R. Max McKinley        Associate      5 years         102.2          $240           $24,528

       Jeffrey Rizzo          Paralegal                      172            $135           $23,220

       Amanda Stephens        Paralegal                      51.20          $135           $6,912




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       Kimberly Paulson        Paralegal                       124.5       $135           $16,807.50

                                                                           TOTAL:         $122,208.50

       (Doc. 572, at 14-18 & Ex. 7-8). These numbers reflect work performed on Receivership matters

       and for the discrete projects involving the recovery of false profits from investors and the

       clawback litigation against non-investors, although GK did not incur expenses or charge fees

       for services as to the latter during this applicable period.

               Upon review, all the requested hourly rates are reasonable. See F.T.C. v. Hardco

       Holding Grp. LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624, at *4-5 (M.D. Fla. Oct.

       3, 2017), report and recommendation adopted, 2017 WL 4700396 (M.D. Fla. Oct. 19, 2017)

       (finding that an hourly rate of $210 for an attorney with two years’ experience on the high side

       but not unreasonable; an hourly rate of $325 for an associate with seven years’ experience

       reasonable and at or below that charged by attorneys of comparable experience and skills in the

       Middle District of Florida; an hourly rate of $400 for an attorney with twelve years’ experience

       and particularized expertise reasonable; and a discounted hourly rate of $400 for a partner with

       twenty-one years’ experience reasonable); Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL

       2869535, at *2-4, report and recommendation adopted, 2017 WL 4877460 (concluding that

       hourly rates charged for legal services rendered on behalf of a court-appointed receiver in the

       amounts of $310, $360, and $410 were reasonable and an hourly rate of $125 for legal work

       performed by paralegals was reasonable). Furthermore, the 661 hours expended by counsel

       and the paralegals do not appear unnecessary, excessive, or redundant but rather reflect a

       reasonable amount of time spent on this matter, including investigating and pursuing additional

       assets for the Receivership, analyzing investor information for the claims process and

       continuing litigation, and administering the claims process. Given that both the hourly rate and




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       the hours expended are reasonable, attorneys’ fees should be awarded for work performed by

       GK. Accordingly, GK should be awarded $122,208.50 in fees.

              GK also seeks reimbursement in the amount of $2,456.92 for costs, encompassing costs

       for online research and web-related expenses (Doc. 572, at 16 & Ex. 7). The costs appear to

       have been necessarily incurred for the Receiver and the Retained Personnel to carry out their

       duties. Such costs are thus fair and reasonable and should be awarded. Given the foregoing,

       GK should be awarded costs in the amount of $2,456.92. In total, therefore, fees and costs

       should be awarded in the amount of $124,665.42 for work performed by GK, which represents

       $122,208.50 in fees and $2,456.92 in costs.

                      C.     JCND

              The Receiver retained the law firm of JCND to assist as co-counsel (Doc. 278), which

       the Court approved (Doc. 282). 4 As an accommodation to the Receiver and to conserve the
                                         3F




       resources of the Receivership Estate, JCND has agreed to follow the reduced rates for attorneys

       and paralegals provided in the GK fee schedule (Doc. 572, Ex. 6). Based on those rates, the

       Receiver now seeks fees for professional services rendered by JCND from January 1, 2022

       through March 31, 2022 in the amount of $65,232 as follows:

       Professional          Position         Experience      Hours       Rate           Fees

       Katherine Donlon      Partner          25 years        145.8       $350           $51,030

       Mary Gura             Paralegal                        105.2       $135           $14,202

                                                                          TOTAL:         $65,232

       (Doc. 572, at 18-22 & Ex. 9-11). Upon review of the billing records and the Ninth Quarterly


       4
         The Receiver retained JCND following the departure of Ms. Donlon, who had been acting as
       lead counsel for the Receiver, from GK to join JCND (Doc. 278; Doc. 572, at 8 n.6). The
       Receiver does not anticipate any duplication of efforts will occur given the roles of various
       legal professionals at GK and JCND (Doc. 278, at 3).



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       Status Report, the hours expended are fair and reasonable for the services performed and present

       no redundancies or unnecessary time spent on this matter (Doc. 563, at 4-22; Doc. 572, Ex. 9-

       11). Namely, during the relevant period, JCND assisted the Receiver with investigating the

       fraud and related activities, liquidating Receivership assets, investigating and pursuing

       additional assets for the Receivership, analyzing investor information for the claims process

       and litigation, and continuing the claims process, along with work on the two discrete projects

       relating to recovery of false profits from investors and clawback litigation against non-

       investors. Further, as discussed above, the rates charged are reasonable for the Middle District

       of Florida. See Hardco Holding Grp. LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624,

       at *4-5, report and recommendation adopted, 2017 WL 4700396 (finding that an hourly rate of

       $210 for an attorney with two years’ experience on the high side but not unreasonable; an hourly

       rate of $325 for an associate with seven years’ experience reasonable and at or below that

       charged by attorneys of comparable experience and skills in the Middle District of Florida; an

       hourly rate of $400 for an attorney with twelve years’ experience and particularized expertise

       reasonable; and a discounted hourly rate of $400 for a partner with twenty-one years’

       experience reasonable); Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL 2869535, at *2-4,

       report and recommendation adopted, 2017 WL 4877460 (concluding that hourly rates charged

       for legal services rendered on behalf of a court-appointed receiver in the amounts of $310, $360,

       and $410 were reasonable and an hourly rate of $125 for legal work performed by paralegals

       was reasonable). In addition, the costs incurred in the amount of $4,717.22 for certified copies,

       publication costs, delivery services, service of process, postage, and mediation are reasonable

       and necessary. Accordingly, JCND should be awarded $69,949.22, which includes $65,232 in

       fees and $4,717.22 in costs.




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                      D.      Weiss Brown

              For assistance with effectuating service of the Order Appointing the Receiver and to

       secure records and assets in Arizona, the Receiver initially retained Baskin Richards PLC, later

       renamed Baskin PLC (the “Baskin Firm”), as local legal counsel in Arizona. The District Judge

       specifically authorized the retention of the Baskin Firm as counsel in Arizona to assist in the

       service of the Order Appointing the Receiver and securing records and assets in Arizona (Doc.

       11, at ¶3). Subsequently, Alan Baskin (“Mr. Baskin”), the primary attorney representing the

       Receiver in Arizona, along with other professionals from the Baskin Firm who worked on this

       matter, joined Weiss Brown, “a business and technology litigation firm also located in Arizona”

       (Doc. 572, at 7 n.3). After consideration, the Receiver determined that, given Mr. Baskin’s

       knowledge regarding this matter, it remained in the best interests of the Receivership and

       defrauded investors that Mr. Baskin continue to represent the Receiver at Weiss Brown and to

       no longer use the services of the Baskin Firm (Doc. 572, at 7 n.3).

              The Receiver now seeks an award of $775 for services rendered by Weiss Brown (Doc.

       572, at 28-29 & Ex. 15). Specifically, the Receiver seeks fees as follows:

       Professional           Position       Experience      Hours            Rate         Fees

       Alan Baskin            Partner        30 years        0.8              $425         $340

       Mladen Milovic         Associate      1 year          1.1              $225         $247.50

       Christina McDonald Paralegal                          1.5              $125         $187.50

                                                                              TOTAL:       $775

       (Doc. 572, at 28-29 & Ex. 15). Though billed in Arizona, these rates come within the range of

       hourly rates typically charged in the Middle District of Florida. 5 See Hardco Holding Grp.
                                                                         4F




       5
         The $225 hourly rate for associates with one to two years’ experience is on the high side for
       the Middle District of Florida, similar to the $210 hourly rate identified in Hardco Holding Grp.


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       LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624, at *4-5, report and recommendation

       adopted at 2017 WL 4700396 (finding that an hourly rate of $210 for an attorney with two

       years’ experience on the high side but not unreasonable; an hourly rate of $325 for an associate

       with seven years’ experience reasonable and at or below that charged by attorneys of

       comparable experience and skills in the Middle District of Florida; an hourly rate of $400 for

       an attorney with twelve years’ experience and particularized expertise reasonable; and a

       discounted hourly rate of $400 for a partner with twenty-one years’ experience reasonable);

       Life Mgmt. Serv. of Orange Cty., LLC, 2017 WL 2869535, at *2-4 report and recommendation

       adopted at 2017 WL 4877460 (concluding that hourly rates charged for legal services rendered

       on behalf of a court-appointed receiver in the amounts of $310, $360, and $410 were reasonable

       and an hourly rate of $125 for legal work performed by paralegals was reasonable) Moreover,

       the 3.4 hours expended do not appear unnecessary, redundant, or excessive based on the

       services provided, and the costs were warranted. Fees should thus be awarded in the amount

       of $775 for work performed by Weiss Brown.

                      E.      Yip

              With respect to the non-legal professional services obtained, the Receiver retained the

       services of Yip, a forensic accounting firm specializing in insolvency and restructuring, Ponzi

       schemes, fraud investigations, insolvency taxation, business valuation, and litigation support,

       to assist with the cash in/cash out analysis for establishing a claims process, among other things.

       The District Judge specifically authorized the retention of Yip in the Order Appointing the

       Receiver (Doc. 11, ¶3). As detailed more fully by the Receiver, Yip “has been instrumental to

       the Receiver in investigating and analyzing the financial status of the Receivership Entities and



       LLC, but, given the limited use of the associate and the work performed in Arizona, the
       undersigned finds it reasonable to award the requested fees in this instance.


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       the investment scheme at issue in this case,” including but not limited to the tracing of investor

       proceeds to various assets and properties and substantially completing the process of gathering

       the investors’ investments and distributions for the claims process (Doc. 572, at 22-23 & Ex.

       12). As the Receiver indicated throughout these proceedings, most of the costs associated with

       forensic accounting services occur on the front end of the Receivership and would not be

       duplicated later but rather would result in greater efficiency as the claims process and filing of

       clawback actions commenced.

              To that end, the Receiver now seeks an award of $25,248.50 in fees as follows:

       Professional           Position       Experience      Hours           Rate           Fees

       Maria Yip              Partner        28 years        1.5             $495           $742.50

       Hal Levenberg          Director       14 years        50.7            $300           $15,210

       Christopher Cropley Manager           12 years        16.5            $300           $4,950

       Nicole Duenas          Sr. Assoc.     9 years         4.8             $245           $1,176

       Christopher Vatti      Sr. Assoc.     5 years         4.9             $245           $1,200.50

       Christopher Leo        Associate      4 years         10.1            $195           $1,969.50

                                                                             TOTAL:         $25,248.50

       (Doc. 572, at 22-25 & Ex. 12). Such hourly rates are reasonable considering the experience

       levels of each professional and the results achieved by Yip thus far. See F.T.C. v. Nationwide

       Connections, Inc., Case No. 06-80180-Civ-Ryskamp/Vitunac, 2009 WL 10669124, at *8-9

       (S.D. Fla. Apr. 14, 2009), report and recommendation adopted, 2009 WL 10668438 (S.D. Fla.

       Apr. 24, 2009) (awarding a forensic accounting firm utilized by a court-appointed receiver fees

       in the amount of $32,333.50 for 143.7 hours of forensic accounting work at a blended rate of

       approximately $225 per hour). Moreover, the hours do not appear inflated, excessive, or




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       unnecessary for the work performed during this period. The requested total of $25,248.50 in

       fees for Yip therefore should be awarded.

                      F.      PDR

              The Receiver also retained the services of PDR to assist with accounting and tax matters.

       The District Judge approved the retention of PDR and limited its role to internal Receivership

       accounting, financial reporting, tax preparation and filing, and internal accounting for EquiAlt

       (Doc. 85). The District Judge directed the Receiver to advise as to the maximum number of

       hours anticipated to be incurred by PDR, and should it become apparent that PDR’s hours would

       exceed the anticipated maximum, the Receiver should submit a motion to that effect (Doc. 85).

       In approving the retention of PDR, the District Judge approved the following hourly rates for

       PDR employees working on this matter: $320 for partners/principals; $210 for managers; $180

       for senior associates; and $125 for staff members (Doc. 85). 6 Subsequently, the Receiver
                                                                        5F




       submitted the anticipated maximum number of hours for PDR, indicating that a principal of

       PDR agreed to a maximum of $15,000 for PDR’s services for each of the first three months and

       then a maximum of $6,000 for each month thereafter (Doc. 87, at 3).

              The Receiver now seeks to deviate from the previously approved budget. According to

       the Receiver, during the relevant timeframe for this application, the Receiver determined that

       EquiAlt’s senior accounting employee was no longer necessary due to the change of the

       business activities of EquiAlt and therefore terminated the position at the end of February (Doc.

       572, at 25). The Receiver indicates that the reduction in force reduced the Receivership’s

       employee expense by more than $125,000 annually, with some of the accounting duties taken

       over by PDR (Doc. 572, at 25. Consequently, the Receiver contends that the prior budget


       6
         Though the District Judge approved a rate of $180 for senior associates, PDR billed the senior
       associate who worked on this matter at a reduced rate of $155 or $160 per hour (Doc. 572, at
       26 & Ex. 13).


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       limitations for PDR’s services no longer reflect reasonable monthly fees and thus requests that

       such limits no longer be applied (Doc. 572, at 25-26). 7
                                                              6F




              Indeed, the Receiver seeks an award of $32,655.18 in fees and costs for accounting,

       auditing, consulting, and tax services provided by PDR during the relevant period (Doc. 572,

       at 25-26 & Ex. 13). The requested fees include reasonable rates in the following amounts: $320

       for Partner William Price, $155 and $160 for Senior Associate Gail Heinold, $125 for Staff

       Member Sharon O’Brien, $125 for Staff Member Dawn Melton, $60 for Staff Member Taylor

       Jones, and $60 for Staff Member Tamra Warden (Doc. 572, at 26 & Ex. 13). 8 Further, upon
                                                                                        7F




       review, the 196.39 hours expended on accounting and tax matters by PDR appear reasonable

       (Doc. 572, at 26 & Ex. 13). Additionally, the $921.43 in costs relating to QuickBooks are

       warranted (Doc. 572, Ex. 13). Accordingly, fees and costs should be awarded in the amount of

       $32,655.18 for the work performed and costs incurred by PDR.

                      G.      E-Hounds

              For computer forensics services to assist the Receiver in securing and analyzing

       electronic data, the Receiver retained E-Hounds, which the District Judge authorized in the

       Order Appointing the Receiver (Doc. 11, ¶3). Specifically, E-Hounds assists with the collection

       and preservation of electronic records, including email records, GoDaddy records, DropBox

       files, and computer equipment and with updating and maintaining the property review platform.



       7
         While the undersigned recommends that the fees be adjusted for purposes of this application,
       the District Judge, who approved the initial budget for PDR’s services (Docs. 85 & 87), may
       require a more formal request with a new proposed budget in order to adjust the budget going
       forward.
       8
         A discrepancy exists between the application and the billing records. Though the application
       indicates that Staff Members Tayler Jones and Tamra Warden billed at a rate of $60 per hour
       (Doc. 572, at 26), the billing records indicate that they each billed at a rate of $125 per hour
       (Doc. 572, Ex. 13, at 12-14). Multiplying the number of hours expended by the actual billed
       rate of $125 per hour (rather than the listed rate of $60 per hour) produces the figures presented
       in the total column in the application.


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       The Receiver seeks an award of $8,193 for services rendered and costs incurred by E-Hounds,

       which includes $3,570 in monthly platform charges and $3,375 for additional platform users

       (Doc. 572, at 26-27 & Ex. 14). The billing records further indicate that E-Hounds charged $195

       per hour for 6.4 hours of technician work. The hourly rate charged, the hours expended, and

       costs incurred are all reasonable for the work performed collecting and preserving electronic

       data. See, e.g., SEC v. Kinetic Investment Grp., Case No. 8:20-cv-394-MSS-SPF (M.D. Fla.)

       (Docs. 73 & 101); CFTC v. Oasis Int’l Grp. Ltd., Case No. 8:19-cv-886-VMC-SPF (M.D. Fla.)

       (Docs. 203 & 207). Fees and costs in the amount of $8,193 for work performed and services

       provided by E-Hounds should be awarded.

                      H.      Omni

              The Receiver retained Omni to assist with the logistical aspects of the claims process

       (Doc. 335), which the District Judge approved (Doc. 347). According to the Receiver, “Omni

       is an information management company that provides administrative services and technology

       solutions to simplify claims administration” (Doc. 572, at 29). Omni assists with the logistical

       components of the claims process, including mailing, determining the correct addresses for

       returned mail, addressing clerical deficiencies, assisting with data entry for the returned Proof

       of Claim Forms, and processing distributions as well as providing an online platform for

       claimants to submit claims electronically or upload their claims. The Standard Services

       Agreement entered into between the Receiver and Omni indicates that, except as otherwise

       stated therein, services rendered by Omni will be billed at rates ranging from $135 to $205 per

       hour, representing a 5% discount (Doc. 335, Ex. 5), which the District Judge adopted in

       authorizing the Receiver to retain Omni (Doc. 347, at 4).

              The Receiver now seeks fees in the amount of $14,644.50 for time expended by several

       individuals on the claims administration process, less a discount of $732.23, and $183.10 for



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       costs incurred, or a total of $14,095.37 (Doc. 572, at 29-30 & Ex. 16). Upon review of the time

       records, none of the hours expended on case administration and the claims process appear

       excessive, redundant, or unnecessary (Doc. 572, Ex. 16). Further, the fee amounts fall within

       the agreed-upon rates that the District Judge already approved. Additionally, costs in the

       amount of $183.10, which includes costs for scanning, in-house storage, shredding, duplication,

       postage, and envelopes, do not appear excessive given the nature of the claims administration

       process. Accordingly, fees and costs in the amount of $14,095.37 should be awarded to Omni. 98F




                      I.     RWJ

              The Receiver retained RWJ, an asset management and investigation firm, to assist with

       investigations and overseeing ongoing business operations and property recovered by the

       Receiver (Doc. 572, at 30). The District Judge specifically authorized the retention of RWJ in

       the Order Appointing the Receiver (Doc. 11, at ¶3). The Receiver now seeks an award of

       $724.50 in fees for work performed by RWJ in this matter (Doc. 572, at 30-31 & Ex. 17).

       Namely, the billing records indicate that RWJ billed for one employee, Roger Jernigan, for 8.05

       hours of work performed at a rate of $90 per hour (Doc. 572, Ex. 17). As indicated by his

       biography, Roger Jernigan holds more than 30 years’ experience in law enforcement and

       maintains more than 11 years’ experience assisting on receivership matters (Doc. 122, Ex. 11,

       at 6-7). Such experience is integral in performing RWJ’s work, including overseeing day-to-

       day property management and supervision, employee management and supervision, and

       property identification, preparation, and assessment. Both the hourly rate and the hours

       expended appear fair and reasonable given the services performed and the experience held by

       Roger Jernigan. See, generally, SEC v. Kirkland, No. 6:06-cv-183-Orl-28KRS, 2008 WL



       9
          In considering future applications, it would assist the undersigned to receive a chart
       summarizing Omni’s billing records and costs in addition to the actual billing records.


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       3981434, at *3 (Aug. 21, 2008), report and recommendation adopted at 2008 WL 4533931

       (M.D. Fla. Sept. 29, 2008) (approving a rate of $150 per hour for investigative services). The

       requested fees in the amount of $724.50 for RWJ’s services therefore should be awarded.

              III.   Conclusion

              For the foregoing reasons, it is hereby

              RECOMMENDED:

              1.     The Receiver’s Ninth Quarterly Fee Application for Order Awarding Fees,

       Costs, and Reimbursement of Costs to Receiver and His Professionals (Doc. 572) be

       GRANTED.

              2.     Fees and costs be awarded in the following amounts:

                     a. The Receiver, in the amount of $79,041.01;

                     b. GK, in the amount of $124,665.42;

                     c. JCND, in the amount of $69,949.22;

                     d. Weiss Brown, in the amount of $775;

                     e. Yip, in the amount of $25,248.50;

                     f. PDR, in the amount of $32,655.18;

                     g. E-Hounds, in the amount of $8,193;

                     h. Omni, in the amount of $14,095.37; and

                     i. RWJ, in the amount of $724.50.

              IT IS SO REPORTED in Tampa, Florida, on this 6th day of June, 2022.




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                                         NOTICE TO PARTIES


              A party has fourteen days from the date they are served a copy of this report to file

       written objections to this report’s proposed findings and recommendations or to seek an

       extension of the fourteen-day deadline to file written objections. 28 U.S.C. § 636(b)(1)(C). A

       party’s failure to file written objections waives that party’s right to challenge on appeal any

       unobjected-to factual finding or legal conclusion the District Judge adopts from the Report and

       Recommendation. See 11th Cir. R. 3-1; 28 U.S.C. § 636(b)(1). Should the parties wish to

       expedite the resolution of this matter, they may promptly file a joint notice of no objection.



       cc:    Hon. Mary S. Scriven
              Counsel of Record




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